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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

United States of America,                              *

                                                       *
      v.                                                                    Case No. 1:22-cr-00007-LKG
                                                       *
Marilyn J. Mosby
  Defendant.                                           *

                                MOTION FOR ADMISSION PRO HAC VICE

            I, Hugh J. Marbury                    , am a member in good standing of the bar of this

Court. I am moving the admission of Michael B. de Leeuw
                                                       Interested Parties The Daily Record, The Baltimore Sun, and The Baltimore Banner
to appear pro hac vice in this case as counsel for ______________________________________.


            We certify that:

            1. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                     State Court & Date of Admission                    U.S. Court & Date of Admission
               New York - 11/18/97                              U.S. District Court SDNY - 2/24/98 ; U.S. District Court, NDNY - 11/25/15;


               New Jersey - 12/16/96                            U.S. District Court, NJ - 12/20/96 ; U.S. District Court, EDMI - 4/23/08;


                                                                U.S. Court of Appeals, 7th Circuit - 8/7/15; U.S. Court of Appeals, 2nd Circuit - 4/3/06;


                                                                U.S. Court of Appeals, 5th Circuit - 4/1/13; U.S. Court of Appeals, 11th Circuit - 11/17/11 ;


                                                                   U.S. Supreme Court - 6/26/06

            2. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            3. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Criminal Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

            4. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.




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            5. Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

            6. The $100.00 fee for admission pro hac vice accompanies this motion.

            7. We hereby certify under penalties of perjury that the foregoing statements are true
               and correct.


MOVANT                                                    PROPOSED ADMITTEE
  /s/ Hugh J. Marbury
Signature                                                 Signature
Hugh J. Marbury (MD Bar No. 24653)                        Michael B. de Leeuw (NY Bar No. 2854131)
Printed name and bar number                               Printed name and bar number
Cozen O'Connor                                            Cozen O'Connor
Office name                                               Office name

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